                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS


DAVID W. THAYER,

                         Plaintiff,

vs.                                               Case No. 22-3086-SAC

LAURA HOWARD, et al.,

                         Defendants.

                                   O R D E R

      The court hereby directs that the Clerk assign this case to

a   Magistrate   Judge    for    the   purposes   of   case   management   and

determining nondispositive pretrial matters.

      IT IS SO ORDERED.

      Dated this 30th day of August 2022, at Topeka, Kansas.


                                s/Sam A. Crow__________________________
                                U.S. District Senior Judge
